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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES — GENERAL

 

 

 

 

Case No. LA CV19-02088 JAK (ASx) Date October 22, 2019

Title Witold Kowbel v. University of Southern California, et al.

Present: The Honorable JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE
Andrea Keifer Not Reported
Deputy Clerk Court Reporter / Recorder

Attorneys Present for Plaintiffs: Attorneys Present for Defendants:

None Present None Present

Proceedings: (IN CHAMBERS) ORDER RE DEFENDANT'S MOTION TO DISMISS (DKT.

10)

lL. Introduction

On March 27, 2019, Witold Kowbel (“Plaintiff”), who is self-represented, brought this action against the
University of Southern California (“USC”) and its Vice President for Student Affairs, Ainsley Carry
(“Carry”) (collectively, “Defendants”). Dkt. 3 at 2. The Complaint advances claims for negligent infliction
of emotional distress and intentional infliction of emotional distress. /d. at 6, 11. The claims arise out of
an academic-discipline proceeding involving Plaintiffs son, Daniel Kowbel (“Daniel”), who was at the
time of that proceeding enrolled as a student at USC. /d. at 6.

On June 3, 2019, Defendants filed a Motion to Dismiss pursuant to Fed. R. Civ. P. 12(b)(6) (the
“Motion”). Dkt. 10. Plaintiff filed an opposition to the Motion on June 26, 2019. Dkt. 21. Defendants filed
a reply on July 15, 2019. Dkt. 22.

A hearing on the Motion was held on September 9, 2019. Dkt. 26. At the hearing, the parties were
directed to file supplemental briefing, with the Motion to be taken under submission once those filings
were made. /d. The supplemental briefs were filed, respectively, on September 30, 2019, and October
7, 2019. Dkts. 27, 28.

For the reasons stated in this Order, the Motion is GRANTED with prejudice.

Il. Request for Judicial Notice

Defendants filed a Request for Judicial Notice (the “RJN”) in connection with the Motion, which is
unopposed. Dkt. 13. The RJN seeks judicial notice of the following:

e Ex. A. The complaint in Kowbel v. University of Southern California, et al., No. CV17-07896-
JAK (AS) (C.D. Cal.) (the “First Action”), which Plaintiff commenced on November 16, 2017;

 

' The use of the first name to identify persons with the same surname is a common practice in court proceedings.
No disrespect is intended by the use of this common convention.
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Ex. B. The First Amended Complaint (“FAC”) filed in the First Action on December 14, 2017;
Ex. C. The Order of June 20, 2018 dismissing the FAC without prejudice;

Ex. D. The Second Amended Complaint (“SAC”) filed in the First Action on July 10, 2018;
Ex. E. The Order of November 27, 2018 dismissing the SAC with prejudice; and

Ex. F. The docket in the First Action.

“The court may judicially notice a fact that is not subject to reasonable dispute because it: (1) is
generally known within the trial court’s territorial jurisdiction; or (2) can be accurately and readily
determined from sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b)(2).
Accordingly, “a court may take judicial notice of ‘matters of public record.” Lee v. City of Los Angeles,
250 F.3d 668, 688-89 (9th Cir. 2001) (citing Mack v. South Bay Beer Distrib., 789 F.2d 1279, 1282 (9th
Cir. 1986)). Such matters “includ[e] documents on file in federal or state courts.” Harris v. Cty. of
Orange, 682 F.3d 1126, 1132 (9th Cir. 2012). However, “on a Rule 12(b)(6) motion to dismiss, when a
court takes judicial notice of an order, it may do so “not for the truth of the facts recited therein, but for
the existence of the opinion, which is not subject to reasonable dispute over its authenticity.” Lee, 250
F.3d at 690 (quoting S. Cross Overseas Agencies, Inc. v. Wah Kwong Shipping Grp. Ltd., 181 F.3d
410, 426-27 (3rd Cir. 1999)).

Exhibits A-F, which are identified above, are properly subject to judicial notice pursuant to the criteria
established by Fed. R. Evid. 201(b)(2). Therefore, the RUN is GRANTED, subject to the limitations on
the scope of the notice.

Ill. Factual Background

The allegations in the Complaint overlap significantly with those in the complaints that Plaintiff filed in
the First Action, which was dismissed with prejudice on November 27, 2018. Dkt. 13-1, Ex. E. Plaintiff's
motion to reconsider that order was denied on August 5, 2019. No. 17-7896, Dkt. 53. Thereafter, a final
judgment was entered in favor of Defendants on October 15, 2019. No. 17-7896, Dkt. 59. Plaintiff
sought to appeal both the November 27, 2018 Order and the August 5, 2019 Order. No. 17-7896, Dkt.
55.

The Complaint filed in this action is not a model of clarity. Further, its allegations also appear to assume
that a reader is familiar with the allegations made in the First Action. Therefore, to the extent necessary
to provide the context for the discussion in this Order, certain matters presented in the pleadings in the
First Action are cited. This is appropriate in light of the granting of the RUN as to these documents.

It is alleged that Daniel was a student at USC, including between October 2016 and October 2017. DKt.
3 at 6. On October 27, 2016, Professor Tenderich (“Tenderich”), who was a professor in a course in
which Daniel was then enrolled, allegedly filed a complaint against Daniel with the “SJUACS.”2 /d. This
complaint allegedly stated that “Daniel had misrepresented when [a] paper was written and submitted”
as part of that course. Dkt. 13-1, Ex. E at 116. On December 6, 2016, the SJACS allegedly provided
Daniel with evidence that had been gathered in support of the allegations in Tenderich’s complaint. Dkt.

 

2 “SJACS’ is an acronym for USC’s “Student Judicial Affairs and Community Standards” panel, whose purpose is

to “oversee[] student discipline.” Dkt. 13-1, Ex. E, at 115.
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3 at 6. On the same day, Daniel allegedly forwarded that evidence to Plaintiff, who “determined there is
no factual evidence just unsupported accusations barred by USC rules.” /d. Plaintiff allegedly instructed
Daniel to request that the SJACS either provide further evidence or vacate the complaint made by
Tenderich. /d.

On December 7, 2016, Daniel allegedly made such a request, which the SJACS hearing officer denied.
Id. That officer allegedly “accused Daniel of being a liar,” which caused Daniel to suffer a panic attack.
Id. On December 10, 2016, Plaintiff allegedly filed a complaint with the provost of USC. It stated that
USC’s conduct was destabilizing Daniel, who since September 2016 had been receiving treatment from
USC medical staff for anxiety and depression. /d. On December 15, 2016, Carry allegedly replied to
Plaintiff, by acknowledging Daniel’s medical condition but denying knowledge of issues with respect to
the SJACS proceedings. /d.

Other exchanges between or among Plaintiff, Carry and the office of the USC provost allegedly
occurred during the winter of 2016-17. /d. at 6-7. On April 19, 2017, the SJACS allegedly reached a
decision, which was communicated to Daniel.* /d. at 7. Plaintiff was allegedly informed the next day of
that decision, which he believed was “harming Daniel and could cause Daniel[‘s] death.” /d.

On May 3, 2017, Daniel allegedly appealed the SJACS decision, and on July 29, 2017, an advisor to
Carry allegedly issued a “false and prohibited” decision, which denied the relief sought in the appeal. /d.
Carry then allegedly refused to change this determination. /d. On July 31, 2017, Plaintiff allegedly filed
an Official complaint with the office of USC’s president. It allegedly stated that Carry had failed to
execute her duties as Vice President for Student Affairs in connection with the investigation, and that
the decision of the appeals panel was “false.” /d. at 9. That complaint was allegedly referred to counsel
for USC. /d. Plaintiff allegedly submitted hundreds of pages of evidence to USC in support of the
complaint, but USC’s personnel allegedly negligently failed to address the issues he raised, thereby
causing “a serious injury to Plaintiffs son Daniel which Plaintiff witnessed.” /d.

Finally, it is alleged that, on October 20, 2017, Plaintiff spoke by telephone with Daniel regarding
Plaintiffs communications with counsel for USC. /d. at 10. Plaintiff allegedly informed Daniel that USC
had not addressed the issues Plaintiff had raised. At that point, it is alleged that Daniel “started to cry,
yell and scream” about his treatment by USC, and threatened suicide. /d. Plaintiff alleges that this
conversation resulted in a “horrifying fright” that caused Plaintiff himself lasting physical pain and
anxiety, including obsessive-compulsive disorder and agoraphobia. /d. at 10-11.

The remedies sought in the Complaint include injunctive relief and $5,000,000 in compensatory
damages. /d. at 8.

 

3 The SJACS concluded that Daniel had violated USC’s academic honesty policies, and directed that his grade in
Tenderich’s class be changed from “C” to “F.” Dkt. 13-1, Ex. E at 116. Daniel was also required to write an essay
about the importance of ethical conduct. /d.

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IV. Analysis
A. Legal Standards

1. Motion to Dismiss

Fed. R. Civ. P. 8(a) provides that a “pleading that states a claim for relief must contain . . . a short and
plain statement of the claim showing that the pleader is entitled to relief. . . ." The complaint must state
facts sufficient to show that a claim for relief is plausible on its face. Bell Atl. Corp. v. Twombly, 550
U.S. 544, 570 (2007). The complaint need not include detailed factual allegations, but must provide
more than a “formulaic recitation of the elements of a cause of action.” /d. at 555. “The plausibility
standard is not akin to a ‘probability requirement,’ but it asks for more than a sheer possibility that a
defendant has acted unlawfully. Where a complaint pleads facts that are ‘merely consistent with’ a
defendant's liability, it stops short of the line between possibility and plausibility of entitlement to relief.”
Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal citations and quotations omitted).

A defendant may move to dismiss a complaint for failure to state a claim pursuant to Fed. R. Civ. P.
12(b)(6). Such a motion may be granted when the complaint lacks a cognizable legal theory or
sufficient facts to support one. Mendiondo v. Centinela Hosp. Med. Ctr., 521 F.3d 1097, 1104 (9th Cir.
2008). In considering a motion to dismiss, the allegations of the challenged complaint are deemed true
and must be construed in the light most favorable to the non-moving party. Cahill v. Liberty Mut. Ins.
Co., 80 F.3d 336, 337-38 (9th Cir. 1996). However, a court need not “accept as true allegations that
contradict matters properly subject to judicial notice or by exhibit. Nor is the court required to accept as
true allegations that are merely conclusory, unwarranted deductions of fact, or unreasonable
inferences.” /n re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1055 (9th Cir. 2008) (citing Sprewell v.
Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001)).

2. Negligent Infliction of Emotional Distress

Claims for negligent infliction of emotional distress may be brought under “direct victim,” “exposure,” or
“bystander” theories. Klein v. Children’s Hosp. Med. Ctr., 46 Cal. App. 4th 889, 894 (1996). Plaintiff
relies on the bystander theory in this action. See Dkt. 3 at 9 (“Defendants’ USC and Carry negligence
caused a serious injury to Plaintiffs son Daniel which Plaintiff witnessed.”).

Under California law, a bystander may recover

damages for emotional distress caused by observing the negligently inflicted injury of a
third person if, but only if, said plaintiff: (1) is closely related to the injury victim; (2) is
present at the scene of the injury-producing event at the time it occurs and is then aware
that it is causing injury to the victim; and (3) as a result suffers serious emotional distress
-- areaction beyond that which would be anticipated in a disinterested witness and

which is not an abnormal response to the circumstances.

Thing v. La Chusa, 48 Cal. 3d 644, 667-68 (1989).

The injury that is witnessed by the bystander plaintiff must be the result of “negligent conduct which

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caused physical injury to a third person.” Christiansen v. Superior Court, 54 Cal. 3d 868, 885 (1991).
However, the “requirement that the plaintiff be contemporaneously aware of the injury-producing event
has not been interpreted as requiring visual perception of an impact on the victim. A plaintiff may
recover based on an event perceived by other senses so long as the event is contemporaneously
understood as causing injury to a close relative.” Bird v. Saenz, 28 Cal. 4th 910, 916 (2002) (emphasis
in original).

These standards have been applied to circumstances in which a parent contemporaneously perceived
an injury to a minor child who was nearby in a bedroom when their house exploded. It was determined
that, although the parent “could not visually witness the infliction of injuries . . . she was most evidently
present at the scene of the accident, was personally impressed by the explosion at the same instant
damage was done to her child, and instantly knew of the likely severe damage to the child.” Wilks v.
Horn, 2 Cal. App. 4th 1264, 1271-72 (1992). “On the other hand, someone who hears an accident but
does not then know it is causing injury to a relative does not have a viable claim for NIED, even if the
missing knowledge is acquired moments later.” Bird, 28 Cal. 4th at 917 n.3. Similarly, injuries sustained
by a patient during surgery cannot give rise to a negligent-infliction claim by a close relative who was
not “in the operating room at the time,” because the relative had necessarily later “learned an accident
had taken place[,] when they heard that news from a physician and saw some of the injurious
consequences.” /d. at 916.

3. Intentional Infliction of Emotional Distress

“The elements of the tort of intentional infliction of emotional distress are: (1) extreme and outrageous
conduct by the defendant with the intention of causing, or reckless disregard of the probability of
causing, emotional distress; (2) the plaintiffs suffering severe or extreme emotional distress; and (3)
actual and proximate causation of the emotional distress by the defendant's outrageous conduct.” Light
v. Cal. Dep’t of Parks & Recreation, 14 Cal. App. 5th 75, 101 (2017) (internal quotations omitted).

To satisfy the first element, conduct “must be so extreme as to exceed all bounds of that usually
tolerated in a civilized community.” Potter v. Firestone Tire & Rubber Co., 6 Cal. 4th 965, 1001 (1993);
see also McMahon v. Craig, 176 Cal. App. 4th 1502, 1515-16 (2009) (“Generally, conduct will be found
actionable where the recitation of the facts to an average member of the community would arouse his
resentment against the actor, and lead him to exclaim, Outrageous!”). “Whether the defendant's
conduct can reasonably be found to be outrageous is question of law that must initially be determined
by the court. If reasonable persons may differ, it is for the jury to determine whether the conduct was, in
fact, outrageous.” 5 Witkin Summary 11th Torts § 525 (citing Berkley v. Dowds, 152 Cal. App. 4th 518,
534 (2007)).

“The tort calls for intentional, or at least reckless conduct -- conduct intended to inflict injury or engaged
in with the realization that injury will result.” Davidson v. City of Westminster, 32 Cal. 3d 197, 210
(1982). Thus, the conduct must be “directed primarily at [plaintiffs], [be] calculated to cause them
severe emotional distress, or [be] done with knowledge of their presence and of a substantial certainty
that they would suffer severe emotional injury.” Christensen, 54 Cal. 3d at 906. To be liable under a
reckless disregard standard, it is not sufficient that a defendant is negligent with respect to the
possibility of emotional distress. See Ochoa v. Superior Court, 39 Cal. 3d 159, 165 n.5 (1985). Instead,
reckless disregard means that it must be true that, at a minimum, the “defendant knew or should have

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known that emotional distress was ‘likely’ to result” from the defendant's actions. See 4 Levy et al.,
California Torts § 44.01 (California generally follows the Restatement approach, which requires a
plaintiff to show a “high degree of probability” that emotional distress will result.).

B. Application

1. Negligent Infliction of Emotional Distress

Defendants challenge the negligent infliction claim on two grounds: Plaintiff was not
contemporaneously aware of any harm that any of them allegedly caused to Daniel, and Daniel
suffered no physical injury. Dkt. 10 at 13-14 & n.5. Plaintiff allegedly witnessed Daniel’s injury during his
telephone conversation with Daniel on October 20, 2017. Dkt. 3 at 10. Thus, the Complaint alleges that
“[djuring the conversation, Daniel asked Plaintiff if USC finally addressed its negligent conduct harming
Daniel. Plaintiff truthfully stated, NO. Daniel suffered the most horrifying injury as a direct result of USC
negligence. . . . He was in the total, absolute state of Shock. He started to cry, yell and scream.” /d.

These allegations are insufficient to state a claim for several reasons. There is no allegation that Daniel
suffered any physical harm. Although “physical injury is not a prerequisite for recovering damages for
serious emotional distress,” this principle has been applied to allow recovery only in two limited
circumstances. Recovery is permitted for the emotional distress of a bystander who witnesses a
physical injury to a third person. Burgess v. Superior Court, 2 Cal. 4th 1064, 1079 (1992). Recovery is
also permitted for emotional distress of those who have suffered severe, emotional injuries caused by
negligent acts directed toward them, not those directed at another person. Molien v. Kaiser Found.
Hosps., 27 Cal. 3d 916, 923 (1980) (misdiagnosis of a sexually transmitted disease); Potter, 6 Cal. 4th
at 988 (toxic exposure). However, there is no authority that supports such a claim where the plaintiff
allegedly witnessed a third party suffering emotional harm. Cf. Christiansen, 54 Cal. 3d at 885 (a
bystander must witness a physical harm in order to recover for his or her own non-physical injuries).

Wilks analyzed circumstances in which a plaintiff was aware of an incident by hearing, rather than
seeing it. 2 Cal. App. 4th at 1267. However, the parent-plaintiff there heard the results of a negligent act
-- the explosion in their home -- which in turn caused serious injury to their child. /d. at 1273. Here, by
contrast, Defendants’ alleged negligence did not occur in the presence of Plaintiff. It also allegedly
occurred prior to the telephone call in which Plaintiff spoke to Daniel and heard his son’s reaction to the
decision by USC personnel. Dkt. 3 at 10. But this is not a recognized form of bystander liability. The
allegedly negligent act had been completed before the telephone call. Thus, there was no
contemporaneous act of Defendants that Plaintiff witnessed and from which he suffered injury. Instead,
Plaintiff elected to communicate information to his son, which allegedly caused the adverse reaction.

Finally, Defendants contend that Plaintiffs alleged reaction to Daniel’s distress upon learning that USC
had decided not to reverse the disciplinary actions “is irrational and not at all a normal response to the
circumstances.” Dkt. 10 at 14. Where “[a]s a matter of law, the circumstances of the . . . incidents . . .
would not cause a reasonable man to be unable to adequately cope with the mental stress they are
alleged of have engendered,” resolution at the pleading stage is warranted. Duval v. Williams, No.
B239657, 2014 WL 907365, at *6 (Cal. Ct. App. Mar. 10, 2014) (granting judgment on the pleadings
where plaintiffs claim was based upon a telephone conversation in which his former partner told their
son that the plaintiff would ruin Christmas). Because the claim here fails on other grounds, it is

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unnecessary to decide this issue.
For the reasons stated, the Motion is GRANTED as to the first cause of action.
2. Intentional Infliction of Emotional Distress

Plaintiff alleges that Defendants made false statements in the course of issuing the SJACS and appeals
panel decisions, and that both were of a manifestly outrageous nature. Dkt. 3 at 11-14; see a/so Dkt. 21
at 20. The statements at issue are:

e The SJACS conclusion that “the properties of the attached paper [submitted by Daniel] would
not contain a creation date after the date the email was sent.” /d. at 11.

e The statement made by an advisor to Carry that “the case file shows the review officer
appropriately reviewed the evidence in his assessment.” /d. at 13.

Plaintiff characterizes these as lies, which Defendants knew would cause him extreme distress. /d. at
11-14.

This alleged conduct cannot reasonably be found to satisfy the first element of an IIED claim. Janken v.
GM Hughes Electronics, 46 Cal. App. 4th 55, 80 (19986), is instructive. Janken, which arose from an
employment setting, held that “[mJanaging personnel is not outrageous conduct beyond the bounds of
human decency, but rather conduct essential to the welfare and prosperity of society.” Thus, allegations
that an employer had accused employees of certain types of misconduct and implemented policies
affecting employee practices and compensation were “insufficient to support a claim of intentional
infliction of emotional distress, even if improper motivation is alleged.” /d.

Defendants’ communications to Daniel, a student enrolled at the university where Defendant’s
employees worked, are analogous. Thus, Defendants were stating the outcome of the formal
disciplinary processes that had been adopted and then applied at USC. The adoption and application of
such procedures necessarily involves the communication of the outcome to the students who are
involved. The purposes of these policies is to maintain academic integrity. Statements to students
about the outcome of an investigation are not ones that go beyond the norms of civilized behavior. See
Hughes v. Pair, 46 Cal. 4th 1035, 1051 (2009) (collecting cases satisfying the outrageousness
standard, including graphic intimations of physical harm, death threats, and sexual harassment, but
excluding “mere insults, indignities, threats, annoyances, petty oppressions, or other trivialities.”).

Moreover, Plaintiff has not alleged that the conduct at issue was directed at him. Rather, the SJACS
decision was “sent. . . to Plaintiffs son,” and the statement by Carry’s advisor was in “an email to
Plaintiffs son.” Dkt. 3 at 11, 13. That Plaintiff learned of these statements later does not show that
Defendants intended to target him. Even where conduct is intentional and outrageous, “[iJt must be
conduct directed at the plaintiff, or occur in the presence of a plaintiff of whom the defendant is aware.”
Christensen, 54 Cal. 3d at 903 (1991). The only conduct at issue concerns messages within emails
sent to Daniel, not to Plaintiff. This is not sufficient to state a claim under California law.

For the reasons stated, the Motion is GRANTED as to the second cause of action.

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C. Whether Leave to Amend Should be Granted

1. Legal Standards

If a motion to dismiss is granted, the court should “freely give leave [to amend] when justice so
requires.” Fed. R. Civ. P. 15(a)(2). Although this policy is to be applied “with extreme liberality,” Owens
v. Kaiser Found. Health Plan, Inc., 244 F.3d 708, 712 (9th Cir. 1990), allowing leave to amend is
inappropriate in circumstances where litigants have failed to cure previously identified deficiencies, or
where an amendment would be futile. See Foman v. Davis, 371 U.S. 178, 182 (1962); Allen v. City of
Beverly Hills, 911 F.2d 367, 374 (9th Cir. 1990).

“Res judicata, also known as claim preclusion, bars litigation in a subsequent action of any claims that
were raised or could have been raised in the prior action.’ The doctrine is applicable whenever there is
(1) an identity of claims, (2) a final judgment on the merits, and (3) identity or privity between parties.”
Owens, 244 F.3d at 713 (quoting W. Radio Servs. Co. v. Glickman, 123 F.3d 1189, 1192 (9th Cir.
1997)). “The private values protected [by the doctrine] include shielding litigants from the burden of re-
litigating identical issues with the same party, and vindicating private parties’ interest in repose. The
public interests served include avoiding inconsistent results and preserving judicial economy.”
Clements v. Airport Auth. of Washoe Cty., 69 F.3d 321, 330 (9th Cir. 1995).

In determining whether there is an identity of claims, “[w]e consider ‘(1) whether the two suits arise out
of the same transactional nucleus of facts; (2) whether rights or interests established in the prior
judgment would be destroyed or impaired by prosecution of the second action; (3) whether the two suits
involve infringement of the same right; and (4) whether substantially the same evidence is presented in
the two actions.” Media Rights Techs., Inc. v. Microsoft Corp., 922 F.3d 1014, 1026 (9th Cir. 2019)
(quoting Mpoyo v. Litton Electro-Optical Sys., 430 F.3d 985, 987 (9th Cir. 2005).

Courts “are most concerned with the facts or events from which the alleged harms arose,” and “have
repeatedly found [that element] to be outcome determinative.” /d. at 1026, 1028. “Whether two events
are part of the same transaction or series depends on whether they are related to the same set of facts
and whether they could conveniently be tried together.” /d. (quoting Mpoyo, 430 F.3d at 987).

2. Application

Although the Complaint is the first one that has been filed in this action, it overlaps with those filed in
the First Action, in which a final judgment adverse to Plaintiff has been entered. No. 17-7896, Dkt. 59.
For example, the FAC in the First Action was construed as advancing a claim for negligent infliction of
emotional distress “based on concerns Plaintiff had about Daniel, due to his alleged reaction to the
investigation,” a claim that has also been advanced in this action. Compare No. 17-7896, Dkt. 24 at 8,
with Dkt. 3 at 6-7. Therefore, Defendants contend that any amendment of the Complaint would be futile,
because Plaintiffs claims are barred by the doctrine of res judicata. Dkt. 28 at 3. Thus, they request
dismissal with prejudice. /d. at 9.

Both this action and the First Action arise from the same series of closely related events. The factual
allegations in the Complaint describe all of the following: Tenderich’s October 27, 2016 complaint
against Daniel; the SJACS disciplinary process in early December 2016; Plaintiffs complaint to the

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USC provost on December 10, 2016; Carry’s email to Plaintiff on December 15, 2016; the April 19,
2017 disciplinary decision issued to Daniel; Daniel’s May 3, 2017 appeal of that decision; and the July
29, 2017 decision rejecting the appeal. Dkt. 3 at 5-6. Each one of these events was also alleged in the
pleadings filed in the First Action. See No. 17-7896, Dkt. 13 at 9 (“Tenderich has made objectively
verifiable FALSE statement in his complaint against Daniel filed with SJACS on October 27th, 2016.”);
No. 17-7896, No. 1 at 8 (“During the SJACS interview on December 7th, 2016, SJAC Judicial Officer
Barton has made Fraudulent Misrepresentations with intent to deceive. . . . [and] Carry...
acknowledged [Plaintiffs complaint] in the email dated Dec. 15th, 2016, but has utterly failed to take
any actions... .”); No. 17-7896, Dkt. 13 at 10 (“[O]n April 19th Barton sent to Daniel his SJACS
Decision. . . . [T]his statement is a deliberate misrepresentation. It was also made with a specific intent
to harm Daniel.”); No. 17-7896, Dkt. 1 at 8 (“The Appeal filed by Daniel on May 3rd provided undisputed
FACTS that the complaint and the initial decision are patently FALSE and based upon FRAUD.”); No.
17-7896, Dkt. 13 at 10 (“[O]n July 29th Daniel Kowbel got an email, from . . . a senior adviser to
Defendant Carry, containing USC Appeal Panel recommendation. It contained a patently false
statement... .”).

The two actions arise out the same set of operative facts. The claims advanced in each also overlap --
intentional and negligent infliction of emotional distress in this action, and, inter alia, negligent infliction
of emotional distress in the First Action. Those claims have common factual and legal bases, and either
were or could have been advanced in the First Action. When this element of the test strongly favors
preclusion, “we do not consider the other criteria” relating to identity of claims. Media Rights Techs.,
922 F.3d at 1029.4 Thus, the first element is satisfied.

3. Final Judgment on the Merits

On October 15, 2019, following a remand from the Ninth Circuit for the purpose of entering a final
judgment, one was entered in the First Action in favor of all Defendants and against Plaintiff. No. 17-
7896, Dkts. 58, 59. Judgment of the district court “is ‘final’ for purposes of res judicata.” “even during
the pendency of an appeal.” Sosa v. DIRECTV, Inc., 437 F.3d 923, 928 (9th Cir. 2006) (quoting first
Orion Tire Corp. v. Goodyear Tire & Rubber Co., 268 F.3d 1133, 1135 n.2 (9th Cir. 2001); then quoting
Eichman v. Fotomat Corp., 759 F.2d 1434, 1439 (9th Cir. 1985)). Thus, the October 15 judgment
satisfies this element.

4. Identity or Privity Between Parties

The FAC in the First Action named USC and Carry as defendants. No. 17-7896, Dkt. 13 at 2. Both are
also the Defendants in this action. Because both actions were advanced against identical parties, this
element is satisfied.

 

4 At the hearing on the Motion, Plaintiff stated that he had decided not to replead the negligent-infliction claim
brought in the FAC because he had had only limited time in which to file the SAC. A failure to amend a claim
where leave has been given to do so does not limit the preclusive effect of a subsequent, final dismissal. See
Johnson v. Flores, No. C 05-1628 SI (PR), 2009 WL 606263, at *7 (N.D. Cal. Mar. 9, 2009); see also Boys Town,
U.S.A., Inc. v. World Church, 349 F.2d 576, 578 (9th Cir. 1965) (“All matters that could have been raised by any

of the parties will be considered as adjudicated.”).
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES — GENERAL

Case No. LA CV19-02088 JAK (ASx) Date October 22, 2019
Title Witold Kowbel v. University of Southern California, et al.

 

Because all of the elements of preclusion are present, the claims advanced in the Complaint are barred
by res judicata. Dismissal with prejudice is warranted, because any further amendment would be futile.
Archer v. Valley Healthcare Corp., 221 F.3d 1347, 1347 (9th Cir. 2000).

V. Conclusion

For the reasons stated in this Order, the Motion is GRANTED and this action is dismissed with
prejudice. On or before November 5, 2019, after meeting and conferring with Plaintiff to seek to reach
an agreement as to the form of a judgment, Defendants shall lodge a proposed judgment consistent
with the terms of this Order, and state whether Plaintiff has agreed to its form. If Plaintiff does not agree
to its form, he shall file any objections as to the form of the proposed judgment in accordance with
Local Rule 54-2.2 no later than November 12, 2019.

IT IS SO ORDERED.

 

Initials of Preparer ak

 

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